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t\ECENeO \N CLERl(S OFFlCE.
       u.s.D.0.• AUanta   .

;.     NOV 1~ 20\8            IN THE UNITED STATES DISTRICT.COURT
     JAMlS N~TTEN, Cl•rFOR THE NORTHERN DISTRICT OF GEORGIA
       9
     1v:    \~Clerk             Atlanta     DIVISION

                CYNTHIA WASHINGTON
            (Print your full name)
                              Plaintiff pro se,                   CIVIL ACTION FILE NO.

                 v.                                               1:18-CV-5230
                                                                     (to be assigned by Clerk)
                 DELTA AIRLINES , INC




            (Print full name of each defendant; an
            employer is usually the defendant)
                              Defendant(s).


                PRO SE EMPLOYMENT DISCRIMINATION COMPLAINT FORM

                                            Claims and Jurisdiction

           1.      This employment discrimination lawsuit is brought under (check only those
                   that apply):

                                  Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e     m
                                  seq., for employment discrimination on the basis of race, color,
                                  religion, sex, or national origin, orretalhtion for exercising rights
                                  under this statute.

                                        NOTE: To sue under Title VII, you generally must have
                                        received a notice of right-to-sue letter from the Equal
                                        Employment OpportWlity Commission C'EEOC").

                                                    Page 1 of 9
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                 Age Discrimination in Employment Act of 1967, 29 U.S.C. §§
                 621 et seg., for employment discrimination against persons age 40
                 and over~ or retaliation for exercising rights under this statute.

                        NOTE: To sue under the Age Discrimination in
                        Employment Act, you generally must first file a charge of
                        discrimination with the EEOC.


        x         Americans With Disabilities Act of 1990, 42 U.S.C. §§ 12101 et
                  ~'for employment discrimination on the basis of disability, or
                  retaliation for exercising rights under this statute.

                        NOTE: To sue under the Americans With Disabilities Act,
                        you generally must have received a notice of right-to-sue
                        letter from the EEOC.                A~ P. ~ Q 1


                  Other (describe)




2.   This Court has subject ~atter jurisdiction over this case under the above-listed
     statutes and under 28 U.S.C. §§ 1331and1343.




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 [BEST·- .A. v .A.ILABir...•3: c.-.-y]
 eeoc Fann 1e1 11 mei                     U.S.     -AL EMPLOYMENT OPPORTUNITY COMr-                           ON

                                                   DISMISSAL AND NOTICE OF RIGHTS
 To:   Cynthia Washington                                                               From:    Atlanta District Ofllce
       1276 Tolanl Drive                                                                         100 Alabama Street, s.w.
       Stone Mountain, GA 30083                                                                  Sulte4R30
                                                                                                 Atlanta, GA 30303


       D                    On behalf of person(s) aggtfeved wtio.se identil.y ts
                            CONFIDENTIAL (.29 CFR §1601.7(a})
 EEOC Charge No.                                EEOC Representative                                                   Telephone No.

                                                 Jane Suk,
 410..Z0'8-03853                                 Investigator                                                         (404) 562-1827
 THE EEOC IS CLOSING ITS FJLE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D        The facts alleged in the charge fail    to state a claim under any of the statutes enforced by the EEOC.

       D        Your allegations did not Involve a disability aa defined by the Americans With Di&ebillties Act

       D        The Respondent employs less than the required number of employees or Is not otherwise covered by the statutes.

       D        Your charge was not timely flied with EEOC; In other
                discrimination to file your charge
                                                                                    words. you waited too long after the   date{s) of the alleged


                The EEOC issues the following determination: Based upon its irwesUgation, the EEOC is unable to conclude that the
                information obtained establishes viofatlons of the statutes. This does not certify that the respond&nt is in compliance with
                the statutes. No finding is me.de as to any other issues that might be construed as having been raised by this charge.

       D        The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       D        Other (brieny state)


                                                          - NOTICE OF SUIT RIGHTS ..
                                                    (See the additional lnformBtion attached to this form.)

Tltle VII, the Americans with Dlsabllltles Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination In Employment Act: This will be the only notice of dlsmissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge In federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. {The time limit for filing suit based on a claim under state law may be different.)

equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years ror willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years>
before you ftle suit may not be collectible.

                                                                                                                     AUG 1 7 2018
Enclosures(s)                                                                                                                (Date Mailed)
                                                            B

           Ryan Langel
           Attorney
           DELTA AIRLINES
           1030 Delta Blvd. Admln Bldg.
           Atlanta. GA 30354
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EocloluoJ wffh EEOC
Form 1G1 (11116)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC

                               {This information 191ates to filing suit in Federal or state coutt umler Federal law.
                      If you also plan to sue claiming violations of State law, pltJBse be aware that time limits and other
                             provisions of state law may be shorterormore limlt9d than those described below.)


PRIVATE SUIT RIGHTS                    Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                       the Genetic lnfonnatlon Nondiscrimination Act (GINA), or the Age
                                       Discrimination In Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named In the charge !!!!b!n
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received il Furthermore, in order to avoid any question that you did not act in a tlmely
manner, It Is prudent that your suit be filed within 90 days of the date this Notice was malled to you (as
indicated where the Notice ls signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice Is not enough. You must file a "complaint'' that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the compfaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought In the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerl< of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                     Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 ytaf! (3 vearsl before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 711/08 to 1211108, you should file suit
before 7/1/10 - not 1211/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA. GINA or the ADEA referred to above.
Therefore, If you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION                   ••   Tltle VII. the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-<:tay period mentioned above,
because such requests do nQ1 relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice If you need help In finding a lawyer or if you have any
questions about your legal rights, Including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of Information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). VVhile EEOC destroys charge flies after a certain time, all charge flies
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within G months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE..
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                                       Parties

3.    Plaintiff.   Print your full name and mailing address below:

      Name            Cynthia Washington


      Address         1276 To Lani Drive

                      Stone Mountain, GA 30083

4.    Defendant(s).       Print below the name and address of each defendant listed
                          on page I of this fonn:

      Name         DELTA AIRLINES. INC

      Address      1030 DELIA BLVD

                      ATLANTA GA 30354


      Name
      Address



      Name
      Address



                                 Location and Time

5.    If the aHeged discriminatory conduct occurred at a location different from the
      address provided for defendant(s)!t state where that discrimination occurred:

         6QOO N. TerminalParkway
         Atlanta, GA 30320



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6.     When did the alleged discrimination occur? (State date or time period)

         From around    12/14 when released to full duty after 1st shoulder surgery

        through 5/18 after release from 2nd shoulder surgery. During this time, I repeatedly

        attempted to be accommodated and was not. I contacted managers in non-lifting

       positions for assistance and was promised follow-ups, but received none.



                            Administrative Procedures

7.     Did you file a charge of discrimination against defendant( s) with the EEOC or
       any 0th.er federal agency?           x Yes                  No

             If you checked "Yes," attach a copy of the charge to thi~ complaint.
                                                                  A/f1-cf.pJ
8.     Have you received a Notice of Right-to-Sue letter from the EEOC?

         x    Yes
                           - - No
             If you checked ""Yes," attach a copy of that letter to this complaint and
             state the date on which you received that letter:
                August 23. 2018



9.     If you are suing for age discrimination, check one of the following:

                    60 days or more have elapsed since I filed my charge of age
                    discrimination with the EEOC

                    Less than 60 days have passed since I filed my charge of age
                    discrimination with the EEOC




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                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                                                                          For Official Us1 Only- Inquiry Number:


   --
....... -':111'11
                                   \ !\   \-t-t la_        l\t>H'J
Thank you for contacting the U.S. Equal Employment Opportunity Commission ("EEOC"). The Information you give us on
this Pre-Charge Inquiry (Form 290A) will help us assist you and determine if your concerns are covered by t~e employment
discrimination laws we enforce. Answer all questions completely and briefly. Please write clearly.

After completing this Pre-Charge Inquiry, retum It Immediately to the EEOC office identified in the cover letter to this Pre-
Charge Inquiry, or to the receptionist if you are completing this Pre-Charge Inquiry in an EEOC office.

Please note: This Pre-Charge Inquiry Is not a Charge of Dlsaimlnatlon.

The Pre-Charge lnqui~ is not intended for use by apkllcants for federal jobs or employees of the US ~overnment. See
htt(,'!:Llwww.eeoc.govJederalLf~g em(!lo)i!ee~b:om2la nt ov~rvie~.cfm for discrimination complaints in ederal jobs.


                          First Name: (       ~ £\ :b:\ I ~               Ml:_          Last Name: t....J,,.,_,~(.." \·~+,o,.....
                                                                  \!)1~ - ·1 q 1-t1q'81
                          Home Phone: (__)                       Cell: ( _ )                    Email:

                          Address:        IZ.l\.f             Tot cu1 i         Dr.                                           Apt.:

                          City:    &hl t--\       fl'\+.                           County: \) t     i'e\B . State: .hn_ Zip Code:          )   C· 0 ~ ~ :>
           Personal
        Information       What is the best way to reach you?

                          What are the best days and times to reach you?

                          Do you need language assistance? Yes 0                 No   jl1
                          If so, what do you need?

At)c ~ lti pI c.t'{       Date of Birth~~          JY tt:t.·)lp                  Sex: Male [J Female;{
              1,C ·
                          General lnfonnation about you that will allow us to serve all Individuals better:
                           i. Are you Hispanic or Latino? Yes 0           N~
                           ii. What is your race? Choose alt that apply. American Indian or Alaskan Native Cl                           Asian 0

                           Black or African     Americ:a~         Native Hawaiian or Other Pacific Islander 0                           WhiteO
                           Iii. What is your National Origin or ancestry?             ·-A--v-\7-.:Z...... ·

                           Employer/J             Union [J        Employment Agency            0         Other Organization 0
                           Organt?ation Name:          2e l111         fh V I ( ·"-l 1          •
   Who do you think
       discriminated
                           Address:    l2 00 0 N -TehA11c.\ )'C\Cf. w A ':f                                                  Suite:
       against you?        City:      A--\-~                                    County:     t \1D C        State:hl_zip Code:)(:)                  "i 2.C.
                           Name of Human Resources Director or Owner:                       N(A--
                           Email:                                                                        Phone:(__).




                              THIS PRE-olARGE INQUIRY IS NOT A CHARGE OF DISCRIMINATION
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..•·




                            How many employees (estimated) does the organiZation have at all locations? Check one:
       Who do you think
        discriminated       Less than 15 [J            15-100 [J       101-200 [J       201-500 [J       Morethan5~
        against you?        Where you worl<(ed), or applied to work, if different from the organization address above:

         (continued)        Address:                                                                                    SUlte: - -

                            City:                                   County:                         State: _ _ ZipCode:


                            I think I was discriminated against because of:

                                [J Race- Your race:

                                [J Color-Your color:

                                [J Religion -Your religion:
       Why do you think
          you were              6       Sex (including pregnancy, gender identity, or sexual orientation)
        disalmlnated
           qainst?              [J NatiOnal origin - Your national origin:

                               }lf      Age (40 or older)- Your age at the time of the adverse employment action:

                               ¢                                                  '°' OtttcUr IJ'".r'1  c~   .
                                                                                  •
                                        Disability- Check all that apply:
                                           D I have a disability
                                           [J I had a disabilttv In the past
                                                                                    t'l)-ttJ.~r  Cllf+.  ~ te:.1~"'11   ~·
                                           [J I don't have a disability but I am treated as if I have a disability
                                           D I am closely related to or associated with a person with a disability
                                        The disability involved:
                                        Is your employer aware of the disability? Yes [J     No[J

                                        If yes, how?

                                    0   Genetic lnfonnation, my family medical histofY, or my participation in genetic services like
                                        counseling. education or testing
                                    [J Retaliation-Check all that apply:

                                            0   I filed a charge of job discrimination about any of the above
                                            0   I contacted a government agency to complain about job discrimination
                                            0   I complained to my employer about job discrimination
                                            0   I helped or was a witness in someone e&se's complaint about job discrimination
                                            D   I requested an accommodation for my disability or rellgion

                                    D   Nooe of the above - The reason for this inquiry:

                             EXAMPlt::i.: I was deniea an accommooatton I neecteCI to perrorm my Job; I was nred 1>ecause I
                             was pregnant; I was lald off because of my age. State the date the action happened.
                             Date: __).__)_ _ _ Action:
       What happened to
       you that you think
       was discriminatory
        and when did lt      Date: __J__J                    Action:
            happen?

                            . Name of Person(s) Responsible:
                            .
                               THIS PRE.QIARGE INQUIRY IS NOT A CHARGE OF DISCRIMINATION
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 What reasonls)       Reason(s):
were you given for
 thls job action?
 •                    Who told you this?                                             His or Her Job ntle:

                      Date   Hired:~__/ 1..0t'\ Job rrtle at Hire:             ~t\i~           ~t-t\f·
                      Annual Pay Rate When Hired:                           Last or Current Annuat Pay Rate:
                                                                                                                            H~dteY
                                                                          "20 ,o.
                                                                                                    "~q~e
 What 15 your job,    Job Title at Time of Alleged otscriminatlon:
  previous Job. or
the Job you applied   Date Your Employment Ended: __/__/                       Select One•      QwitO            9ischa19ed/tald off'EJ        rv'/A
       for?           Name and Title of your Immediate Supervisor:         atQ         ~-Vt'f\       E>r    ee.rL, ~\..... ·
                      Job Applicants - What was the title of tile Job you applied for:                                      p        \ e.ru:U. r-
                      Date you applied:             I            Date you found out you were not hired:__}__J

        Was another person in the same or slmll• situation treated the same, better, or worse than you?
 EXAMPLES: Who else applied for the same job? Who else had the same attendance record? Who else had the same
                                            performance appraisal?

                      1. Name:                                                            Job Trtle:
                      Email:                                                         Check how they are different from you:
                      RaceD        Color CJ   Religion 0      SexD        National Origin CJ      Age       D       Disability CJ
Who was treated       How were they treated better?
BmER than you?
                                                                                                         Date: __J__J

                      2.Name:                                                                   Job Title:
                      Email;                                                          Check how they are different from you:
                      RaceO        Color CJ   Religion 0      SexD        National Origin D       Age D             Disability       D
                      How were they treated better?
                                                                                                         Date: __/__}


                      Name:                                                               JobTitle:
Who was treated       Email:                                                          Check how they are different from you:
WORSE than you?
                      RaceO        Color CJ   Religion D       Sex D      National Origin D       Age       CJ      Disability CJ
                      How were they treated worse?

                                                                                                            Date: __}__J


                      Name:                                                                    Job Title:

 Who was treated      Email:                                                        · Check how they are different from you:
 the SAME as you?     RaceD        ColorD     Religion 0       SexD       National Origin 0        Age      CJ      Disability D
                      How were they treated the same?
                                                                                                            Date:       I        I




                         THIS PRE..CHARGE INQUIRY IS NOT A CHARGE Of DISCRIMINATION
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                      1. Name:                                                          Job Title:
   Are there any
witnesses to any of   Email:                                                                          Phone:L_l
  the job actions
                      What wlll they tell us?
taken against you?
   If yes, please.
   provide their
                      2. Name:                                                          Job Title:
       contact
 information and      Ema II:                                                                          Phone:LJ
 tell us what they
                      What will they tell us?
      will say.


 Have you already
 flied a charge on
                      VesD       NoO
 this matter with     If yes:   Date you flied: __J__J                     Charge Number:
     the EEOC?

 Have you filed a     YesD        NoO
complaint on this
   matter with        If yes: Agency name:
 another agency?      Date you filed: __J__J                          Complaint Number:


   Do you have
                      YesD        NoD        ~r       (,.:)Olf   ws        CP"""V'      Q..+for      Uoc.
     someone          If yes:   Attorney      0            Union D            Other D
representing you In
                      Name:                                                                  Date of Contact: __J__J
   this matter?
                      Email:                                                                 Phone:

   Who can we         Name:                                                             Relationship:
 contact If we are
  unable to reach     Address:                                                  City:                State: _ _ Zip Code:
      you?            Email:                                          Home Phone: LJ                    Cell:(__}

                      This form is covered by the Privacy Act of 1974: Public Law 93-579. Authority for requesting personal data
                      and the uses thereof are: 1) EEOC PRE-OfARGE INQUIRY, FORM 290A, ISSUED OCTOBER 2017. 2) AUTI-IORITY.
                      42 u.s.c. § 2000e-S(b), 29 u.s.c. § 211, 29 u.s.c. § 626. 42 u.s.c. §12117(a). 3) PRINOPAL PURPOSE. The
                      purpose of this form Is to solicit lnfonnation about claims of employment discrimination, determine whether
                      the EEOC has jurisdiction over those daims, and pro\llde charge counseling. if appropriate. 4) ROUTINE USES.
                      EEOC may disclose infonnation from this form to other state, local and federal agencies as appropriate or
    Privacy Act
                      necessary to carry out the Commission's functions, or if EEOC becomes aware of a c:lvll or criminal law
    Statement
                      violation. EEOC may also disclose information to respondents In litigation, to congressional offices In response
                      to inquiries from parties to the charge, to disciplinary committees Investigating complaints against attorneys
                      representing the parties to the cnarge, or to federal agencies inquiring aboot hiring or security clearance
                      matters. S) WHETHER DISCLOSURE IS MANDATORY OR VOLUNTARY AND EFFECT ON INDIVIDUAL FOR NOT
                      PROVIDING INFORMATION. Providing this information is voluntary bot the failure to do so may hamper .the
                      Commission's assessment of your situation. It is not mandatory that this form be used to provide the
                      reauested information. EEOC Pre-charge lnauirv, Form 290A, issued October 2017.
Please note: You must file a charge of job discrimination within 180 days from the day you knew about the discrimination,
or within 300 days from the day you knew about the discrimination If the employer Is located where a state or local
government agency enforces job discrimination laws on the same basts as the £EOC's laws. This Pre-Cha,.e Inquiry Is not
a chaqe. If you would like to file a charge of discrimination immediately, contact the EEOC office on the cover letter. We
recommend that vou keep a coov of vour comoleted Pre-Charge inQulrv and the Cover Letter for vour records.

                         THIS PRE-CHARGE INQUIRY IS NOT A CHARGE OF DISCRIMINATION
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    This information represents the investigator's
    pre-decisional thoughts and analysis regarding the
    processing of the charge.




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                                  Withheld pursuant to exemplion

                                                     (b)(5)

                         of the Freeaom of Information an<l Pnvacy Act
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EeOC fomt 5 (11/09)

                      CHARGE OF DISCRIMINATION                                                             Charge Presemed To:             Agency(les) Charge No(s):
             lbltformi1 aff«:md by the Privacy Acl.d 1974. Sae enclosed Privacy Ad
                    Statement and other Information blfonl ~ng ltliS form.
                                                                                                               D FEPA
                                                                                                               [!]EEOC                        410-2018-03853
                                                                                                                                                            and EEOC
                                                                            StaM er loc.t Aaency. ii any
Name (lndlcallt Mr., Ms., Mts.}                                                                                    Home Pllone tlnd Area   ~}             DR ofBll1h
Ms. Cynthia Washington                                                                                                   (678) 791-9483                     1966
Street Address                                                                      City, Stale and ZIP COde
1276 Tolanl Drive                                                                   Stone Mountain, GA 30083

Named i& the Employer, Labor Organization. Employment Agency, ApplW!liceehlp Corrvnittee, or State or Local Govemment Agency That I Beleve
DiaQ'inlnated Against Me Of Others. (H l1llJ(8 lhan two, list under PARnCIJl.ARS below.)
Nl!lm9                                                                                                             No.   e~    Membet'tl     Phone No. (Include Ant.t Cade}
DELTA AIRLINES                                                                                                      600 or More                 (404) 715-2600
Stree1 Md1'911                                                                      City, S1ale and ZIP Code
6000 N. Terminal Parkway                                                            AUanta, GA 30320

Name                                                                                                               NCI.~ Membenl             Phone No (Include AnN Coda)


Straet Addreu                                                                       City, 819'9 and ZIP COde




DISCRIMINATION ilASED ON (Check


  D      RACE         D      COLOR
                                        ~re box(H).)



                                            D        SEX         D       RELIGION        D      NATIONAL ORIGIN
                                                                                                                           DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                 .E.slleat
                                                                                                                             04-01·2017
                                                                                                                                                             ....
                                                                                                                                                       04-01 ..2017
         D     RETALIATION         D        AGE      [!] OISABILrrY                 D      GENETC !NFORMATlON
                 D     OTHER (Specify)                                                                                           [!] CONTINUING ACTION
THE PARTICULARS ARE (If additional paplH is !lflfHlftd. atladl ttll11a sheet(s)}:
 I. I was hired by the above-named employer In January 2009, and currently hold the Baggage Handler
 position. In September 2013, I was injured at the job and went out on workers comp. In December
 2014, I was released back to work without any restrictions. However, I continued to experience pain
 and went out on another leave. In or around Aprll 2017, I was released back to work with a restriction.
 However, upon my return, I was lnfonnad by Warren Wells, Ready Reserve Manager, that they cannot
 accommodate me. I requested to work a different Job duty and a transfer, but my request was dented.

 II. The reason given for denying my accommodation was, that they do not have to accommodate a
 Ready Reserve employee.

 Ill. I believe that I have been discriminated against based on my disability, ln violation of Tide I of the
 Americans with DlsabiHUes Act of 1990, as amended.

                                                                                                NOTARY - Wiien nsceSUty fOr State and Local Agency Rttqulmments




                                                                                                                   MAR 0 7 2018
                                                                                                SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
    Mar07,2018                                                                                  (month, dq. .....,,

                                                                                                               E~OC-ATDO
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CP Enck>Mn With EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:                      ·

1.     FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2.     AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff..S.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

·4.   ROUTINE USES. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes {and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5.    WHETHER DISCLOSURE IS MANDATORY: EFFECT OF NOT GMNG INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by using this fonn
or by presenting a notarized statement or unswom declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplif1ed later by
amendment. It is not mandatory that this fonn be used to make a charge.

                            NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, It will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its f111dings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

                                      NoTICE OF NON·RETAUATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation Is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA;
Section 503{a) of the ADA and Section 207(f) of GINA. ft is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503{b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.
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                              U.S. Equal Employment Opportunity Commission
                                           Atlanta District Office
                                                I 00 Alabama Street, s.W.
                                                       Suite 4R30
                                                   Atlanta, GA 30303

                                  NOTICE OF CHARGE OF DISCRIMINATION
                                    (This Notice replaces EEOC FORM 131)
                                              DIGITAL CHARGE SYSTEM
           March 15, 2018
           To: Ryan Langel
               Special Counsel
               DELTA AIRLINES
               ryan.langel@delta.com



           This is notice that a charge of employment discrimination has been filed with the EEOC against
           your organization by Cynthia Washington. under: The Americans with Disabilities Act (ADA).
           The c:ircumstances of the alleged discrimination are based on Disability, and Involve issues of
           Reasonable Accommodation that are alleged to have occurred on or about Apr 01, 2017 and
           may be continuing.
           The Digital Charge System makes investigations and communications with charging parties
           and respondents more efficient by digitizing charge documents. The charge is available for you
           to download from the EEOC Respondent Portal, EEOC's secure online system.
            Please follow these instructions to view the charge within ten (10) days of receiving this
(b)(5)      Notice:
               1. Access EEOCs secure online system: https://mg.eeoc.gov/rsp/lt:lgin.jsf

    ocuments reflecting the agency's charge processing codes; both general and specific to the charge.
               ey u                       ,                                          •
            submit documents to EEOC. The system will also advise you of possible actions or responses,
            and identify your EEOC point of contact for this charge.
            If you are unable to log into the EEOC Respondent Portal or have any questions regarding the
            Digital Charge System, you can send an email to ATDOCHARGES@EEOC.GOV.
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PmeryatiolJ. ofRecot41 Requirement
EEOC regulations require respondents to preserve all payroll and personnel records relevant to
the charge until final disposition of the charge or litigation. 29 CFR §1602.14. For more
information        on     your       obligation       to      preserve       records,     see
ht!;pj//eeoc.govI employers/recordkeeeing.cfm.


Non-Retall•tkm Regpfrements
The laws enforced by the EEOC prohibit retaliation against any individual because s/he has
filed a charge, testified, assisted or participated in an investigation, proceeding or hearing
under these laws. Persons filing charges of discrimination are advised of these Non-Retaliation
Requirements and are instructed to notify EEOC if any attempt at retaliation is made. For more
information, see http://www.eeoc.gov/laws/types/facts-retal.cfm.


Le.al Jtepresentation
Although you do not have to be represented by an attorney while we handle this charge, you
have a right, and may wish to retain an attorney to represent you. Jf you do retain an attorney.
please provide the attorney's contact information when you log In to the online system.


Please retain this notice for your records.
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                   U.S. Equal Employment Opportunity Commission

                            FEDERAL INVESTIGAnON:
                       REQUEST FOR POsmON STATEMENT
                    AND SUPPORTING DOCUMENTARY EVIDENCE
EEOC hereby requests that your organization submit within 30 days a Position Statement
setting forth all facts which pertain to the allegations in the charge of discrimination under
investigation, as well as any other facts which you deem relevant for EEOC's consideration.

We recommend you review EEOC's resource guide on "Effective Position Statements" as you
prepare your response to this request.

Fact-Based Position Statement
This is your opportunity to raise any and all defenses, legal or factual, in response to each of
the allegations of the charge. The position statement should set forth all of the facts relevant
to respond to the allegations in the charge, as well as any other facts the Respondent deems
pertinent to EEOC's consideration. The position statement should only refer to, but not
identify, information that the Respondent asserts is sensitive medical information, or
confidential commercial or financial information.

EEOC also requests that you submit all documentary evidence you believe is responsive to the
ailegatlons of the charge. If you submit only an advocacy statement. unsupported by
documentary evidence, EEOC may conclude that Respondent has no evidence to support Its
defense to the allegations of the charge.

EEOC may release your position statement and non-confidential attachments to the Charging
Party and her representative and allow them to respond to enable the EEOC to assess the
credibility of the information provided by both parties. It is in the Respondent's Interest to
provide an effective position statement that focuses on the facts. EEOC will not release the
Charging Party's response, if any, to the Respondent.

If no response is received to this request, EEOC may proceed directly to a determination on the
merits of the charge based on the information at Its disposal.

StmedbvanAuthorlzed~
The Position Statement should be signed by an officer, agent, or representative of Respondent
authorized to speak officially on its behalf in this federal investigation.

Segregate Conftdentfa1 Information into Se,parately ])esignated Attachments
If you rely on confidential medical or commercial information in the position statement, you
should provide such Information in separate attachments to the position statement labeled
"Sensitive Medical Information," nconfidential Commercial or Financial Information." or
''Trade Secret Information" as applicable. Provide an explanation justifying the confidential
nature of the information contained in the attachments. Medical information about the
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Charging Party is not sensitive or confidential medical information in relation to EEOC's
investigation.
Segregate the following information into separate attachments and designate them as follows:
       a. Sensitive medical information (except for the Charging Party's medical
          information).
       b. Social Security Numbers
       c. Confidential commercial or financial information.
       d. Trade secrets information.
       e. Non-relevant personally identifiable information of witnesses, comparators or third
          parties, for example, social security numbers, dates of birth in non-age cases, home
          addresses. personal phone numbers and email addresses, etc.
       f. Any reference to charges ftled against the Respondent by other charging parties.

Requests for an Extension
If Respondent believes it requires additional time to respond, it must, at the earliest possible
time in advance of the due date, make a written request for extension, explain why an
extension is necessary, and specify the amount of additional time needed to reply. Submitting
a written request for extension of time does not automatically extend the deadline for
providing the position statement.

lJ.Rloacithe Position statement and Attachments into the B.gpondept Portal
You can upload your position statement and attachments Into the Respondent Portal using the+ Upload
Documents button. Select the "Position Statement" Document Type and dick the Save Upload
button to send the Position Statement and attachments to EEOC. Once the Position Statement has
been submitted, you will not be able to retract it via the Portal.
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 EEOC " - i a (11IOll}


                         CHARGE OF DISCRIMINATION                                                               Charge Presented To:                Agency(ies) Charge No(s):
              This form is anected by !he Privacy Actof 1974. Sae ene1oHc1 Privacy Act
                     Statement and alher lnformatlcn befOte completing 11111 lbnn.
                                                                                                                   D FEPA
                                                                                                                   [!)EEOC                             410-2018..03853
                                                                                                                                                                     and EEOC
                                                                              StahJ or lotel Aglclncy, if any
 Name (indbtte Mr., Ma., Mrs.)                                                                                          Han'llt Phonu (Incl. AnN' Cotle)           Dale of Birth
 Ms. Cynthia Washington                                                                                                    (678) 791-9483                            1966
 S!raet AddrMI                                                                         City, Si&le and ZIP Code
 1276 Tolanl Drive                                                                     Stone Mountain. GA 30083

 N1rnect la the Employer, Labor Organization, Employment Agency, ApJQnticesh!p Committee, or State or Local Govemment Agency Thet I Beleve
 Olscrlmlnated Againat Me or O<hera. (If more than two, li8t under PARTICULARS below.}
 Name                                                                                           No. e~ Merl-.         Phorie Ho. (lnctude Area Code)

 DELTA AIRLINES                                                                                                          SOOorMore                         (404) 716-2600
 StreetAdhls                                                                           City, Slate and ZIP Code
 6000 N. Terminal Parkway                                                              Atlanta, GA 30320

 Name                                                                                                                   No. EmpioVNS. Mlinlbera       Phone No. (Include Alea C<lde)


 Street Adttnin                                                                        City, &!lie and ZIP COde




 DISCRIM1NATION BASED ON (CIHK:k apptOPlillte bolt(n).)                                                                         OA.TE(S) DISCRIMINATION TOOK PLACE
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   OMce                  D     COLOR           D       SEX          D       RELIGION        D       NATIONAL ORIGIN                04-01-2017                   04..01-2017
        [:::::J RETALIATION [:::::J AGE                 00      DISABILITY             [:::::J GENETIC INFORMATION
                [:::::J OTHER (Specify)                                                                                                 [!] CONTINUING ACTION
 THE PARTICULARS ARe (If additional paptrl' ls l'lfH1dfJtl. lrltach e"1ra sheet(s)}:
  I. I was hired by the above.named employer In January 2009, and currently hold the Baggage Handler
  position. In September 2013, I was Injured at the job and went out on workers comp. In December
  2014. I was released back to work without any restrictions. However, I continued to experience pain
  and went out on another leave. In or around April 2017, I was released back to work with a restriction.
  However, upon my return, I was informed by Warren Wells, Ready Reserve Manager, that they cannot
  accommodate me. I requested to work a different job duty and a transfer, but my request was denied.

   JI. The reason given for denying my accommodation was, that they do not have to accommodate a
   Ready Reserve employee.

  Ill. I believe that I have been discriminated against based on my dlaablllty, in violation of Title I of the
  Americans with Dlaabillties Act of 1990, as amended.

 I want this charge filed with bolt! tne EEOC and the State or local Agency, If any. I
 will advise the agencies If I change my addreu or phOne ni.mber and I wil
 cooperate fUlly with them in lhe processing of my charve In lllCOOl'dance with their ~;;;;;;;;°d~Mfl:i~rtltiliiJi~ii;;i~dit;t;;;;t~
~procedu--l'H-·-------------------11 J swear or affirm                                                                     at It Is true to
 I declare under penalty of perjury ttlat the abOlle is true and correct.                          ttle best of my kd8wMfl~rlMMlliilralM!jl
                                                                                                   SIGNATURE OF COMPLAINANT


                                                                                                   SUBSCRIBED ANO SWORN         ~1UFJl.JMi?m~              DATE'
     Mar071 2018                                                                                   (montll. dey. ,..,.,
                            Case 1:18-cv-05230-ELR-CMS Document 3 Filed 11/15/18 Page 19 of 31
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 EEOC Fomi 5 (11,11)1))

                           CHARGE OF DISCRIMINATION                                                                Charge Presented To:             Agency(les} Cha19e No(s):
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                                                                                                                         (!]EEOC                        410-2018..03853
                                                                                                                                                                      and EEOC
                                                                                   Stale "'laclJI Al!Mcv, If any
 Name (/m:HQilrl Mr., Ms.. Mr!.}                                                                                            l'lome Phone (Incl. Area COde)          o.te or Birth
 Ma. Cynthia Washington                                                                                                        (678) 791 ·9483                        1956
 StreetAddlUI                                                                                City, Stabtanct ZIP Code
 1276 Tolani Drive                                                                           Stone Mountain, GA 30083

 Named is the Employer, Labar Organlzltion, Employment Agency, Apprentlc:eship Commltee, or State er Local Government Agency That I Believe
 Diacrmnated Againl!lt Me or Othel'$. (If tnOffl tflan IWo, list unde#" PARTICULARS below.)
 Name                                                                                                                       Na. ~. Mell'ltlolw,s       Phone No. (lnt:lud& .419• Code}
 DELTA AIRLINES                                                                                                              500 or More                     (404) 715-2600
 Street AddAJM                                                                               City, Stale and ZIP Code
 6000 N. Tenninal Parkway                                                                    Atlanta, GA 30320

 Nam•                                                                                                                       Ho. Ell'C:I~. Membenl      Phone No. (Include Anta Code}


 StreetAddreu                                                                                City, State ISld ZIP Code




 OISCRIWNATION BASED ON (Check~ boK(a).)                                                                                            OATE(S) DISCRIMINATION TOOK PLACE
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    D             RETALIATION             DAGE              [!] DlSABILITY                   D      GENETIC IHFORMATION
         D                    Oll1ER (Specify}                                                                                             [!'] CONTINUING ACTION
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 I wanttl'il chsge ~with both the EEOC and the State or local Agenl;y, If any. I
 will adYlle the agencies It I change my addnm or phone number and 1wm
 cocpenate fuly With them n the proGeMing of my charge In accord:.tnce with their
1'-'-procad.,.....,._1119S_._ __,_....,..-...--,.,..---,....,..---_,..-----~ I swear or aftl                                                                         that I is true to
     I declare under penalty of pefjuiy that the above la true and comtct.   th& best of my IWlolWICllPJ
                                                                             SIGNATURE OF COMPLAINANT

                                                                                                                                    MAR 01 20\8
                                                                                                         SUBSCRIBED AND SWORN TO BEFORE M.E THIS DATE
      Maro1,201e                                                                                         (montll, dll'f, )'WHIT)

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EEOC F!lfm II (11A>9)

                        CHARGE OF DISCRIMINATION                                                                  Charge Presented To:                 Agency(ies) Charge No(s):
             11lia form 1$ affected~ the Prtvacy ltd of 197.4. See enclosed Pl'iYacy Act
                     Sllltement and olher inl'armatlon bebe completing this form.
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                                                                                                                                                                        and EEOC
                                                                              Sta# or local l'il/lellCY, If any
Name (fndteale Mr., Ma., Mm.}                                                                                               Home Phone (tnd. AIM Q>l»J                0.d81rth
Ma. Cynthia Washington                                                                                                          (678) 791-9483                          1956
Street Adclresl                                                                        City,   Stat9 and ZIP Code
1278 Tolani Drive                                                                      Stone Mountain, GA 30083

Named is lie Employer. Labor Organization, Employment Agency, Apprenticeship Committee. or state or Local Goverrment Agency That I Behve
Discriminated Agalnat Me or Othet'S. (If mom Ulan two, fJst under PARTICULARS below.)
·Name                                                                                                                       No. E....,!oyen, MMIHn       Phooe No. (Include AIH Code)
DELTA AIRLINES                                                                                                               500orMore                      (404) 715-2600
Sftett Addra11                                                                         City, Stat& and ZIP Code
6000 N. Tennlnal Parkway                                                               Atlanta, GA 30320

Nsne                                                                                                                        No. ffl"flloyen, MMll«tl     ?hone No. (Include Alea Codll)


Street Adclresl                                                                        City, Slate and ZIP Code




DISCRIMINATION BASt=o ON (Checll llPPIQptMle boll.(esJ,J                                                                             OATE(S) DISCR.IMlNATION TOOt< Pl.ACE
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  D       RACE          D     COLOR           D        SEX         D        RELIGION           D      NATIONAL ORIGIN                   04-01-2017                 04-01-2017
        D       RETALIA.TION         D       AGE       [!] DISABILITY                  D        GENETIC INFORMATION
                  DOTHER~J                                                                                                                   00        CONTINUING ACTION

THE PARTICUl.ARS ARE (rf lldtlJtioflal paf»I' la needed. attllell lfJdra ahfft(JJ)):
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 II. The reason given for denying my accommodation waa, that they do not have to accommodate a
 Ready Reserve employee.

 Ill. I believe that I have been discriminated against based on my disability, In violation of Tltle 1of the
 Americana with Disabllltles Act of 1990, as amended.                        I

I want th5 charge filed wlh both the EEOC and lhe Slate or 1oc;a1 Agency, if any, I
wll aclvl1& lhe agencle6 If I change my addreae Of phone number and I wil
cooperate fuly with them In the proceaslng of my charg& tn eccontance with their
procedures.                                                                                          lawaarora                 I have read the above charge and that it is true to
I declare under penalty of perjury that the above: Is tn.ie and correct                              the best of                 ge, Information anc:t belief.
                                                                                                                      ,.,,,.,,._.,."''NANT

                                                                                                     SUBSCRIBED AND SWORN TO BEFORE t.IE THIS PATE
    Mar07, 2018                                                                                      (month, day, }'ffl)

            Date
                 Case 1:18-cv-05230-ELR-CMS Document 3 Filed 11/15/18 Page 21 of 31
                                                           Page 18 or 32




·inquiry Information
REASQN(S} FOB CLAIM
Date of Incident {Approximate):               03l02/2018
Reason for Complaint                          AO&· I am 40 years of age or older, Sex Oncludlng
                                              pregnancy, sexual orientation .and gender Identity).
                                              Dlsability

Pay Disparity:                                No
Location of Incident:                         Georgia

EEOC (INQUIRY) NUMBER: .                      410-2018-03853
Submission {Initial Inquiry) Date:            03/06/2018
Claim previously flied as charge with EEOC?   No
Claim previously flied as complaint with
another Agency?                               No

INQUIRY OFFICE
Receiving:                                    AUanta District Office
Accountable:                                  Atlanta District Office

APPOINTMENT
Appointment Date and time:
lntetview Type:

APPROXUATE DEADLINE FOR FILING A CHARGE
Earliest Date:                                08/2912018
Latest Date:                                  08/29/2018

POTENTIAL atARGING PARTY
First Name, Middle Initial:                   Cynthia
Last Name:                                    Washington
Street or Malling Address:                    1276 TO LANI DR
City, State, Zip:                             STONE, GA, 30083
Country:                                      UNITED STATES OF AMERICA
Year of Birth:                                1956
Email Address:                                washlynnlonaireOyahoo.com
Home Phone Number:                            (678) 791-9483
Cell Phone Number:                            (678) 791-9483

RESPQNDENT
Organization Name;                            DELTA AIRLINES
Type of Employer:                             Business or non-profit organization that I applied to. work
                                              for, or worked for

Number of Employees:                          All uncertain number of employees
Street or Malling Address:                    P.O. Box 20706
Building, Suite or Room#
Clly,State,Zlp COde:                          ATL,GA, 30320
County:
Phone Number:                                 (404) 71&-2000

RESPONDENT CQNTACT
First and Last Name:
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                                                               Page 19 or 32
  .....


Eman Address:
Phone Number:
Titre:

LOCATJ9N Of POTENTIAL CHARGING PARTCS EMPLOYMENT
Street or Malling Address:        6000 North Terminal Parkway
Building, Suita or Room #:
City,State.Zlp Code:              ATLANTA. GA. 30320
County:                           Fulton

POTENTIAL CHARGING PARTY'S DEMOGRAPHICS
Gender:                          F
Disabled:                        I have a dlsablltty
Are you Hispanic or Latino?      not hispanlc or latlno
Ethnicity:                       Black or African American.
National Origin:                 Amertcan(U.S.)

Adverse Action(!}
Injured on job at Delta Airlines. Rotator cuff/labrum tear surgery. Released by WC Dr, to fl.Ill duty, still complalnlng
of pain. While in o.rr . I was sent home by the eq>loyer, as I was unable load airpfane. The Or, refused to change full
duty. An Independent Dr confirmed my complaints. My employer refused to continue we benefits. Almost a year later, I
was assigned different WC Dr that confirmed Independent Dr's findings and a 2nd surgery was performed. I repeatedly
asked my employer to accommodate me With a 1ess physical position and was denied, eaeh time, even with experience in
other areas of airline customer service. My position with Delta only allows me from flying benefits and twice the
privileges were suspended. My former attorney was able to get them reinstated. Current attorney refused to pursue
reinstatement. He recommends settling WC, which prevents filing future cases against employer.


Supplemental Information
What Beuonfl> were you alnn tor tbe action taken aaalnst you?
That they did not have to provkfe accommodations to me, even If It was in a different position or department.

Was anyone In a am Har situation trRtec:I the •ame. better· or worae than you?
What I am aware Of iS that there are e!Y1>foyees in same department as myself that had medical Issues such as strokes,
heart attacks, injuries, etc, that were placed in less strenuous positions to accommodate their situations. Most of
these employees were males. I only know one worlter's first name (Johnny). not sure of the others names, knoW them by
face.


Please provide Mme(al end •mall ancf/or phone number of anyone who wlll aupport your c!elm. and briefly
describe the information this pereon will provide.
Warren Wells - Manager of Ready Reserve employees (emaH unknown), He can conflnn that when he was summoned to office
the day I was told to go home, he was the manager that told me I had to leave and escorted me out
                                                  Tammy Busett • Accommodation Manager
was one Of the managers I spoke with on the day I was told to go heme and told I could not be accommodated. There
are several people whose names I cannot think Of at this time, such as the OJT Instructors that went with me to the
managel'8 office. when told to go home.

          Co-workers that work in same area as myself, that Is aware of accommodations to some etnployees.



Please tall ua any otber Information about your experlence2
My employment began Jan 2009 and before Injury, I have had perfect attendance, work extended hours without pay, as
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                                                       3 Filed 11/15/18 Page 23 of 31


s~rt to the team.      Was Injured before but refused to take off, retumlng lo work each Ume. Foot was run over by a
2000 lb cart on a Friday, told by acting manager I could not go lo hospital until I saw Delta's clinic (closed, at that
time) for referral or Delta would not cover the medical. Went home with severely swollen foot, until Monday. I have
asked different departments too allow me accommodations, that I may continue my employment with Defta and was told
sure, they would get back to me and never did. A former manager told me because of his knowledge of my wort< history, he
would be glad to help me. After a couple of calls to him later, he never returned calls.
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10.     If you were employed by an agency of the State of Georgia or unsucressfuJly
        sought employment with a State agency, did you file a complaint against
        defendant(s) with the Georgia Commission on Equal Opportunity?

                                                 x Not P.~pplicable, because I was
        - - Yes            - - No             not an employee of, or applicant with,
                                              a State agency.

              If you checked "Yes," attach a copy of the complaint you filed with the
              Georgia Commission on Equal Opportunity and describe below what
              happened with it (i.e., the complaint was dismissed, there was a hearing
              before a special master, or there was an appeal to Superior Court):




l l.    If you were employed by a Federal agency or unsuccessfully sought
        employment with a Federal agency, did you complete the administrative
        process established by that agency for persons alleging denial of equal
        employment opportunity?

                                                x    Not applicable, because I was
        - - Yes            - - No             not an employee of, or applicant witht
                                              a Federal agency.

              If you checked "Yes," describe below what happened in that
              administrative process:




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                                 Nature of the Case

12.    The conduct complained about in this lawsuit invohes (check only those that
       apply):          '

                   failure to hire me
                   failure to promote me
                   demotion
                   reduction in my wages
                   working under tenns and conditions of employment that differed
                   from similarly situated employees
                   harassment
                   retaliation
                   termination of my employment
         x         failure to accommodate my disability
         x         other (please specify) Constructive discharge



13.    I believe that I wa8 discriminated against because of (check only those that
       apply):

                   my race or color, which i s _ _ . , . . - - - - - - - - - - - -
                   my religion, which is _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   my sex (gender), which is              male              female
                   my national origin, which is _ _ _ _ _ _ _ _ _ _ _ __
                   my age (my date of birth i s - - - - - - - - - - - -
         x         my disability or perceived disability, which is:
                     Per Dr limited to lifting no more than 20 lbs.

                   my opposition to a practice ofmy employer that I believe violated
                   the federal anti-discrimination laws or my participation in an
                   EEOC investigation

                   other (please specify)-----




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14.    Write. below, ~ clearly as possible, the essentiai facts of your claim(s).
       Des~nbe spec1fically the conduct that you believe was discriminatory or
       retaliatory and how each defendant was involved. Include any facts which
       sho~ that the acti~ns you are complaining about were discriminatory or
       retaliatory.. Take time to organize your statements; you may use numbered
       paragraphs tf you find that helpful. Do not make legal arguments or cite cases
       or statutes.
Per my repeated requests for accommodations before and after I was released to duty

12/14, (1st surgery was 4/14), I was denied. During the job training class, I informed the

Perormance Leader of Zone 9(unsure of name), that when I raised my left arm, it was

with extreme pain. I was escorted to the administrative office by the PL, who went into a

  conference with Warren Wells(Ready Reserve Manager) and Tamberly Bassett (Accomm-
 odations Dept). After the meeting, I was told to go home. Again, I asked to be accommodated

 and was denied. The class instructors were present, when I was told I would not be
 accommodated and escorted out. Immediately after leaving my employer, I went to the

  WC physcian that released me to full duty and told him what occurred and told him again

 I was having extreme pain lifting my left arm. He told me to deal with it and maintained

 his orders of full duty status. I contacted my WC attorney, informing her of the status.

I was seen by a non-WC physician, Dr Thomas Branch, around 5/15, who confirmed issues
that were causing my distress, via MRI and X-Ray. I took the medical findings to the WC

 E?hysician, a week or so later, and he continued to refuse to change my work status. My

WC attorney went through the process of presenting my case to the Worker's Comp board
and was assigned a different WC physician, that agreed with the non-WC physician. He
 started treatment with therapy, then proceeded with a 2nd surgery on same shoulder around

 2/17. After therapy, I was released back to limited duty(lift no more than 20 lbs) around 11/17.

 While awaiting duty release, I applied for several positions that did not require heavy lifting.

{A~h no more than five additional sheets if necessary; type or write legibly only on
one side of a page.)

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     Page 7 Question #14




One of the positions I applied for was Ticket/Gate agent
(April 2017). I was contacted by Tamberly Bassett,
informing me of scheduling for an interview for the
above position. She said I had to apply, interview and go
through the process like a non-employee. I informed my
attorney of my communications with Ms. Bassett and he
stated that I could not accept any position, until I was
released back to duty by my WC physician. I conveyed
this to Ms. Bassett by phone and she requested I send
her an email, stating that. I complied.

While awaiting release, I received 2 certified letters
(around 3/15/17 and 4/7/17) from Delta's
Accommodations Specialist Jaleassia Edgerton, regarding
accommodating me. I called my WC attorney upon my
receiving the notices, both times. The WC attorney said
he would be in contact with Delta's attorneys regarding
this. Upon further contact with my attorney and his
paralegal Ms. Tinsley (email 4/5/17), I was told to
disregard the accommodation notices, as they were sent
to me (twice) in error. I sent Mr. Compton a copy of
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Delta's policy manual regarding the Job Accommodation
Program. To show that it does not state that Ready
Reserves could not be accommodated, as stated by
Warren Wells and Tamberly Bassett. Other employees
have been accommodated, to a less demanding position
in the baggage claim area, due to their health issue, in
addition to another employee given the opportunity to
go to reservations, due to medical issues. I was never
given that opportunity, even on a temporary basis.

January 15, 2015, I stated to my 1st WC attorney (same
firm}, via email, that I had no intentions of leaving Delta,
but did not want to harm myself, by not being
accommodated.

Due to the fact, that the 1st WC physician released me
back to full duty, my WC benefits were terminated
around 12/14. After continuously going back and forth
challenging my right to payments, they were finally
restored approximately 12/15, with back payments.
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15.   Plaintiff                     still works for defendant(s)
                        x           no longer works for defendant(s) or was not hired


16.   If this is a disability-related cJaim, did defendant(s) deny a request for
      reasonable accommodation?           x Yes                No

               Ifyou checked ~'Yes," please explain: 1personallx was told by Warren Wells
      (Ready Reserve Mgr) and Tamberly Bassett(Accommodations Dept) that Delta
       did not have to accommodate Ready Reserve employees, when I returned to duty

       after 1st surgery (12/14). Delta sent 2 certified letters (3/17 & 4/17), offering accommo
       dations, I responded through my WC attorney Max Compton, who stated he was



17.   If your case goes to trial, it will be heard by a judge unless you elect a jury
      trial. Do you request a jury trial?        x    Yes         No


                                    Requnt for Relid'

As relief from the allegations of discrimination and/or retaliation stated above,
plaintiff prays that the Court grant the following relief (check any that apply):

         x .         Defendant(s) be directed to Restore flight privileges and reinstatement
                      to a position that accommodates medical restrictions.

         x           Money damages (list ammmts) ....u....12.....to~$3=0;.;;;.Q,_;;..o......
                                                                                       oo...___ _~--


                     Costs and fees involved in litigating thh case


         x           Such other relief as my be appropriate




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Cont: Page 8 For question #16



told by Delta's attorneys to disregard the offer, as they
were sent to me in error. I have email correspondence
regarding this matter, with Mr. Compton and his
paralegal Ms. Tinsley (4/15/17).
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          PLEASE READ BEFOBE SIGNING THIS COMlLAINT
Before you sign this Complaint and file it with the Clerk, please review Rule 11 of
the Federal Rules of Civil Procedure for a full description of your obligation of good
faith in filing this Complaint and any motion or pleading in this Court, as well as the
sanctions that may be imposed by the Court when a litigant (whether plaintiff or
defendant) violates the provisions ofRule 11. These sanctions may include an order
directing you to pay part or all of the reasonable attorney's fees and other expenses
incurred by the defendant(s). Finally, ifthe defendant(s) is the prevailing party in this
lawsuit, costs (other than attorney's fees) may be imposed upon you under Federal
Rule of Civil Procedure 54(d)(l).


             Signed, this   /3     day of   //WvrrJu"' .,                 ,20   If


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